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                   8   Apple Inc.
                   9                   IN THE UNITED STATES DISTRICT COURT
                10                   FOR THE CENTRAL DISTRICT OF CALIFORNIA
                11                                     WESTERN DIVISION
                12
                       ONE-E-WAY, INC., a California                Case No. 2:20-CV-06339-JAK-PDA
                13     Corporation,
                                                                    APPLE INC.’S NOTICE OF
                14                    Plaintiff,                    MOTION AND MOTION TO
                                                                    STRIKE ONE-E-WAY’S
                15           v.                                     INFRINGEMENT
                                                                    CONTENTIONS AND TO
                16     APPLE INC., a California Corporation,        COMPEL SERVICE OF
                                                                    AMENDED INFRINGEMENT
                17                    Defendant.                    CONTENTIONS
                18                                                  Date:   November 9, 2020
                                                                    Time:    8:30AM
                19                                                  Honorable John A. Kronstadt
                20                                                  Scheduling Conference:
                                                                    Date:    November 16, 2020
                21                                                  Time:    1:30PM
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ATTORNEYS AT LAW                                                          APPLE’S NOTICE OF MOTION AND MOTION TO
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                   1                                  NOTICE OF MOTION
                   2         PLEASE TAKE NOTICE that on November 9, 2020, at 8:30 a.m., or as soon
                   3   thereafter as the matter may be heard before the Honorable John A. Kronstadt at
                   4   Courtroom 10B, located at First Street Courthouse, 350 W. First Street, Los Angeles,
                   5   CA 90012, or in such other manner, time, and place as the Court may direct,
                   6   Defendant Apple Inc. (“Apple”) will, and hereby does, move this Court for an order
                   7   striking the Infringement Contentions of Plaintiff One-E-Way, Inc. (“OEW”) and
                   8   compelling service of amended infringement contentions. The motion is based on
                   9   this Notice, the Memorandum of Points and Authorities, all pleadings and papers on
                10     file in this action, and such other argument and evidence as my be presented to the
                11     Court before or at the hearing on this matter.
                12           This motion is made following the conference of counsel pursuant to L.R. 7-3
                13     that occurred on September 28, 2020 including lead counsel for both parties, wherein
                14     the parties reached impasse.
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ATTORNEYS AT LAW                                                          APPLE’S NOTICE OF MOTION AND MOTION TO
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                   1                  MEMORANDUM OF POINTS AND AUTHORITIES
                   2   I.    INTRODUCTION
                   3         OEW violated the Court’s Standing Patent Rules by failing to disclose specific
                   4   accused products, specific infringement theories, and the basis for OEW’s contention
                   5   that its products practice its asserted patents. During meet and confer, OEW refused
                   6   to engage in good faith and only made the problems worse. The Court should strike
                   7   OEW’s non-compliant disclosures and compel compliance as set forth herein.
                   8         OEW’s refusal to comply with the rules means that this case cannot proceed
                   9   in an orderly manner as the rules contemplate. Without the requested relief, Apple
                10     will be denied the fair and timely notice of OEW’s contentions that would enable
                11     Apple to properly investigate and prepare its defenses and responsive discovery
                12     disclosures as the rules envision.
                13     II.   STATEMENT OF FACTS
                14           A.     OEW Is a Serial Litigant.
                15           OEW is no stranger to the courts. The present action is the latest in a long line
                16     of patent lawsuits filed by OEW in this District and at the International Trade
                17     Commission (“ITC”) since 2011.1 At the ITC, OEW’s case proceeded through a
                18     claim construction ruling and a determination that OEW’s asserted patents were
                19     invalid as indefinite under 35 U.S.C. § 112, though the Federal Circuit ultimately
                20     reversed the invalidity ruling and the litigation settled thereafter.2
                21           Separate from its patent lawsuits, OEW has been sued by multiple creditors on
                22     claims that OEW failed to repay its debts, which have so far resulted in the entry of
                23     at least one judgment against OEW.3 OEW also litigated an arbitration against an
                24     1
                         See, e.g., One-E-Way Inc. v. Plantronics, No. 2-11-cv-06673 (C.D. Cal.); One-E-
                25     Way Inc. v. Imation Corp., No. 2-12-cv-00608 (C.D. Cal.); One-E-Way Inc. v.
                       Harman Int’l Industries Inc., No. 2012-cv-00603 (C.D. Cal.); One-E-Way Inc. v.
                26     JayBird Gear LLC, No. 2-12-cv-00601, 2-12-cv-06135 (C.D. Cal.); One-E-Way
                       Inc. v. Audiovox Corp., No. 2-cv-00580 (C.D. Cal.); In re Certain Wireless
                27     Headsets, USITC Inv. No. 337-TA-943.
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                       3
                28       Wells Fargo Bank v. One-E-Way, Inc., et al, No. BC618362 (Cal. Sup. Ct.);
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                   1   intellectual property funding firm that resulted in a mixed judgment.4
                   2           B.         OEW Asserts Three Patents Relating to Portable Wireless Music
                                          Devices.
                   3
                               OEW purports to own a family of related patents, each entitled “Wireless
                   4
                       Digital Audio Music System,” that share substantially the same written description
                   5
                       and purport to claim priority to an abandoned application filed in December 2001.
                   6
                               The patents purport to describe a “wireless digital audio system” for playing
                   7
                       music.5 The patents describe that “audio player devices” were known in the prior art,
                   8
                       such as portable CD players, portable cassette players, and portable radios.6 The
                   9
                       patents state that prior art audio players included “an analog headphone jack to which
                10
                       headphones may be connected by wire.”7 The patents purport to describe a system
                11
                       that includes two devices: a “battery powered transmitter” that plugs into the
                12
                       headphone jack of an audio player, and a “battery powered headphone receiver” that
                13
                       receives      coded     digital   wireless
                14
                       transmission from the transmitter
                15
                       that had been plugged into the
                16
                       device.8     Figure 1 of the patents,
                17
                       reproduced to the right, shows a
                18
                       preferred embodiment. The figure
                19
                       shows an “audio source 80” (a
                20
                       “portable music audio player”) in the
                21
                       lower      left,    a   battery   powered
                22
                       transmitter 20 plugged into the headphone jack 82 of the audio player 80, and “battery
                23
                       powered receiver 50” in the form of headphones.
                24
                               The patents state that the battery powered transmitter that plugs into the device
                25
                       4
                26       One-E-Way, Inc. v. 1624 O, LLC, No. 30-2019-010543-CU-PA-CJC (Cal. Sup.
                       Ct.).
                       5
                27       Dkt. 22-1, ’391 patent.
                       6
                         Id., col. 1:19-34.
                       7
                28       Id., col. 1:32-34.
                       8
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                         Id., col. 1:47-53, 2:30-43.
ATTORNEYS AT LAW                                                             APPLE’S NOTICE OF MOTION AND MOTION TO
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                   1   contains a code generator 44 that creates and transmits a “unique user code.”9 The
                   2   unique user code “is specifically associated with one wireless digital audio system
                   3   user, and it is the only code recognized by the battery powered headphone receiver
                   4   50 operated by a particular user.”10
                   5         Though OEW originally included Apple’s subsidiary Beats Electronics as one
                   6   of the accused infringers at the ITC, OEW dismissed Beats Electronics from that case
                   7   in early 2015. Thereafter, OEW waited five years without further contacting Apple.
                   8   On July 18, 2020, OEW sued Apple in this action, alleging that certain Apple and
                   9   Beats Electronics headphone, earphone, and audio player products with Bluetooth
                10     wireless audio capabilities infringed at least one “receiver” claim of two of those
                11     patents: U.S. Patent Nos. 8,131,391 (“’391 patent”) and 10,468,047 (“’047 patent”).11
                12           On September 15, 2020, a few hours before serving its Infringement
                13     Contentions, OEW filed an amended complaint that added U.S. Patent No.
                14     10,129,627 (“’627 patent”), which had been in existence for well over two years, and
                15     newly alleged that unspecified iPhone, iPad, iPod, and Apple Watch products with
                16     Bluetooth wireless audio capabilities infringed certain “transmitter” claims.12
                17           C.     OEW Contends That It Practices the Asserted Patents.
                18           OEW’s complaint alleges that OEW makes and sells products that practice its
                19     patents: “One-E-Way manufactures and sells wireless audio devices covered by the
                20     Asserted Patents” and “sells its patented wireless audio products through at least its
                21     online retail outlet, available at https://shop.wayvz.com/.”13 The website offers
                22     dongle type products, similar to the patent embodiment, that plug into headphone
                23     jacks on devices like MP3 player and airplane seat back movie players.14
                24           Despite the clear allegations in its complaint and a similar claim on its website
                25
                       9
                26       Id., col. 2:54-59.
                       10
                          Id., col. 2:54-59.
                       11
                27        Dkt. No. 1.
                       12
                          Dkt. No. 22.
                       13
                28        Dkt. No. 22, ¶¶ 34, 14.
                       14
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                         See, e.g., https://shop.wayvz.com/products/wireless-transmitter.
ATTORNEYS AT LAW                                                           APPLE’S NOTICE OF MOTION AND MOTION TO
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                   1   that its products are “Patented,”15 OEW failed to comply with the Standing Patent
                   2   Rules by withholding the basis for its contention that its products practice the asserted
                   3   patents, as discussed below.
                   4         D.     OEW Served Deficient Infringement Contentions and Refused to
                                    Fix Them.
                   5
                   6         On September 15, 2020, OEW served its “Disclosure of Asserted Claims and
                   7   Infringement Contentions” (“Infringement Contentions”) as required by Standing
                   8   Patent Rule 2.1 and the Court’s scheduling order.16 The contentions are rife with
                   9   prejudicial deficiencies that violate the requirements of the Standing Patent Rules, as
               10      explained further below.
               11            Apple promptly notified OEW of the deficiencies and explained how OEW’s
               12      failure to comply with the Standing Patent Rules prejudiced Apple’s defense.17
               13      Although OEW had no good cause to amend its contentions that violated the Standing
               14      Patent Rules, Apple offered that in the interests of amicable resolution to avoid
               15      burdening the Court, Apple would accept amended contentions that fixed the
               16      deficiencies.18
               17            OEW refused to serve supplemental contentions to remedy the deficiencies.19
               18      Instead, OEW confirmed that it had not performed an investigation of each Apple
               19      product to determine whether or not it might infringe, but instead expected Apple to
               20      provide technical discovery so that OEW could conduct a fishing expedition for a
               21      potential infringement theory.20 OEW also admitted that although its infringement
               22      allegations rely in part on the specifications for complying with the Bluetooth
               23      standard, its asserted claims include requirements not addressed by Bluetooth that
               24      OEW would need to look for separately in each specific accused product.21
                       15
               25         See https://one-e-way.com/technology/ (“One-E-Way™ Wireless Audio
                       Headwear – PATENTED”).
                       16
               26         Declaration of Lowell D. Mead (“Mead Decl.”), Ex. A.
                       17
                          Mead Decl., Ex. B.
                       18
               27         Id.
                       19
                          Mead Decl., Ex. C.
                       20
               28         Mead Decl., ¶ 2, Ex. D.
                       21
COOLEY LLP
                          Id.
ATTORNEYS AT LAW                                                             APPLE’S NOTICE OF MOTION AND MOTION TO
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                   1            The parties met and conferred and reached impasse, as OEW refused to
                   2   supplement its contentions.22
                   3   III.     LEGAL STANDARD
                   4            Patent local rules, including the Standing Patent Rules that govern this case,
                   5   “are essentially a series of case management orders that fall within a district court’s
                   6   broad power to control its docket and enforce its order.” Caravan Canopy Int’l, Inc.
                   7   v. Home Depot U.S.A., Inc., No. 19-cv-6978, 2020 WL 3805805, at *1 (C.D. Cal.
                   8   May 26, 2020) (citing Mortg. Grader Inc. v. First Choice Loan Serv. Inc., 811 F.3d
                   9   1314, 1320-21 (Fed. Cir. 2016)). Patent local rules seek to balance the right to
               10      develop new information in discovery with the need for certainty as to the legal
               11      theories. O2 Micro Int’l Ltd. v. Monolithic Power Sys., Inc., 467 F.3d 1355, 1365-
               12      66 (Fed. Cir. 2006).
               13               The “Standing Patent Rules require that, early in a case, a patent owner serve
               14      a ‘Disclosure of Asserted Claims and Infringement Contentions.’” Caravan Canopy,
               15      2020 WL 3805805, at *2 (citing S.P.R. 2.1).             This disclosure must identify
               16      “[s]eparately for each asserted claim, each Accused Instrumentality.                     This
               17      identification shall be as specific as reasonably possible.” S.P.R. 2.1.2. It must also
               18      include “[a] chart identifying specifically where each limitation of each asserted
               19      claim is found within each Accused Instrumentality.” S.P.R. 2.1.3.
               20               The patent rules in the Northern District of California set forth substantially
               21      similar requirements. Uniloc 2017 LLC v. Apple, Inc., No. 19-cv-01904, 2019 WL
               22      8810168, at *4 (N.D. Cal. Dec. 16, 2019) (discussing specificity requirements for
               23      Patent Local Rule 3-1(b) and (c)). As this Court has remarked, “[t]he infringement
               24      contentions required by these local patent rules ‘require parties to crystallize their
               25      theories of the case early in the litigation and to adhere to those theories once they
               26      have been disclosed.” Zenith Elec., LLC v. Sceptre, Inc., No. LA 14-cv-05150 JAK
               27      (AJWx), 2015 U.S. Dist. LEXIS 199091 at *3 (C.D. Cal. Nov. 2, 2015) (citing Nova
               28      22
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                            Mead Decl., ¶ 2, Ex. D.
ATTORNEYS AT LAW                                                             APPLE’S NOTICE OF MOTION AND MOTION TO
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                   1   Measuring Instruments Ltd. v. Nanometrics, Inc., 417 F.Supp. 2d 1121, 1122-23
                   2   (N.D. Cal. 2006)).
                   3   IV.   ARGUMENT
                   4         A.     OEW Fails to Specifically Identify Each Accused Product, in
                                    Violation of S.P.R. 2.1.2.
                   5
                             OEW’s Infringement Contentions fail to specifically identify each product
                   6
                       accused of infringement. S.P.R. 2.1.2 (requiring identification of “each” accused
                   7
                       instrumentality “as specific as reasonably possible” and “[s]eparately” for each
                   8
                       asserted claim).     OEW’s contentions violate this core requirement in two
                   9
                       fundamental ways.
               10
                                    1.      OEW improperly refers to entire product lines that were
               11                           introduced as early as 2001.
               12            OEW’s contentions improperly seek to encompass several entire classes of
               13      product line—“iPhone, iPad, iPod, and Apple Watch”—as purported “Accused
               14      Transmitter Device” products.23 iPhone, iPad, iPod, and Apple Watch are product
               15      lines that comprise many different versions and models over the years. Many of the
               16      product models in these product lines indisputably should never be accused in this
               17      case. The first patent-in-suit (the ’391 patent) did not issue until 2012 and there can
               18      be no infringement liability prior to July 2014.24 The iPod product line, for example,
               19      includes early model iPod devices released starting in 2001, with no Bluetooth; the
               20      first iPhone was introduced in 2007, and the first iPad in 2010.25 As such, broadly
               21      accusing “iPhone, iPad, iPod, and Apple Watch” fails to comply with the Standing
               22      Patent Rules. S.P.R. 2.1.2 (requiring identification of “each” accused instrumentality
               23      “as specific as reasonably possible”). District courts have repeatedly held that these
               24      types of “broad categorical identifications” such as “Apple tablets” should be stricken
               25      and that “allegations should be limited to the products specifically identified.”
               26      23
                          Mead Decl., Ex. A at 005, 063, 095.
                       24
               27         See 35 U.S.C. § 286.
                       25
                         See https://www.apple.com/newsroom/2001/10/23Apple-Presents-iPod/;
               28      https://www.apple.com/newsroom/2007/01/09Apple-Reinvents-the-Phone-with-
COOLEY LLP
                       iPhone/; https://www.apple.com/newsroom/2010/01/27Apple-Launches-iPad/.
ATTORNEYS AT LAW                                                            APPLE’S NOTICE OF MOTION AND MOTION TO
   PALO ALTO
                                                                 7                                             STRIKE
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                   1   Uniloc USA, Inc. v. Apple Inc., No. 18-cv-00360, 2018 WL 3219486, at *3 (N.D.
                   2   Cal. Jul. 2, 2018); Finjan Inc v. Proofpoint Inc., No. 13-cv-05808, 2015 WL
                   3   1517920, at *5-6 (N.D. Cal. Apr. 2, 2015) (striking improper open-ended accusation:
                   4   “[t]he Local Rules do not permit ‘broad categorical identifications’” of accused
                   5   products) (citation omitted).26
                   6         As such, OEW’s accusation against the “Accused Transmitter Devices,” which
                   7   consists of improper wholesale reference to the entire “iPhone, iPad, iPod, and Apple
                   8   Watch” product lines, should be stricken. Uniloc USA, 2018 WL 3219486, at *3
                   9   (granting motion to strike and ruling that patentee “will be limited to the accused
               10      products actually listed in its infringement contentions”).
               11                   2.     OEW improperly purports to accuse products that are not
                                           identified in its contentions.
               12
                             Beyond the names of products and product lines, OEW’s contentions also
               13
                       improperly purport to accuse “any prior or subsequent commercial iteration of the
               14
                       product if that product was/is capable of wirelessly transmitting or receiving audio
               15
                       data using Bluetooth connectivity in the manner set forth” in OEW’s claim charts.27
               16
                       But the Standing Patent Rules required OEW to separately identify “each” accused
               17
                       product “as specific as reasonably as possible.” S.P.R. 2.1.2. The Court should strike
               18
                       OEW’s vague, open-ended attempt to accuse additional products that are not
               19
                       specifically identified in OEW’s contentions. Proofpoint, 2015 WL 1517920, at *5
               20
                       (striking accusation that “purports to identify infringing products by their
               21
                       functionality” beyond seven specifically-identified products); Finjan, Inc. v.
               22
                       26
               23         Courts in this District often look to decisions from the Northern District of
                       California for persuasive authority regarding the similar patent rules provisions.
               24      Mortg. Grader, Inc. v. First Choice Loan Servs. Inc., 811 F.3d 1314, 1320 (Fed.
                       Cir. 2016) (“Judge Guilford’s Standing Patent Rules are similar to the Patent Local
               25      Rules adopted by the Northern District of California and many other districts.”);
                       Zenith Elec., 2015 U.S. Dist. LEXIS 199091 at *3-4 (citing N.D. Cal. case law with
               26      respect to dispute under Standing Patent Rules); BlackBerry Ltd. v. Facebook, Inc.
                       et al., No. 2:18-cv-01844-GW-KS, slip op. at 2 (C.D. Cal. Aug. 31, 2018)
               27      (“Although the Court adopts Judge Guilford’s Patent Local Rules, to the extent
                       necessary and appropriate, the parties may rely on legal authority developed based
               28      on the Northern District of California’s Patent Local Rules . . .”).
                       27
COOLEY LLP
                          Mead Decl., Ex. A at 002-003.
ATTORNEYS AT LAW                                                            APPLE’S NOTICE OF MOTION AND MOTION TO
   PALO ALTO
                                                                 8                                             STRIKE
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                   1   SonicWall, Inc., No. 17-cv-04467-BLE (VKD), 2019 WL 2077849, at *3-4 (N.D.
                   2   Cal. May 10, 2019) (striking “open-ended” descriptions of accused products with
                   3   “placeholder references to unspecified products, services, or components” that render
                   4   the “disclosure of the accused instrumentalities unacceptably vague”); Geovector,
                   5   Corp. v. Samsung Elecs. Co. Ltd., No. 16-cv-02463, 2017 WL 76950, at *4 (N.D.
                   6   Cal. Jan. 9, 2017) (the patent rules do “not permit parties to identify accused products
                   7   by using categorical or functional identifications, or limited, representative
                   8   examples.”) (internal citations omitted).
                   9            During meet and confer, OEW suggested that it was entitled to shift the burden
               10      to Apple to investigate and guess which products with Bluetooth capabilities OEW
               11      might end up wanting to accuse of infringement. OEW is wrong. OEW admits, as
               12      it must, that merely having Bluetooth capability is insufficient for OEW’s
               13      infringement theory because the asserted claims recite specific physical device
               14      requirements (such as, for example, a “direct conversion module” and other
               15      elements) that Bluetooth does not address or require.28 OEW needed to do the work
               16      and identify the specific products that it contends are covered by the claims, as
               17      required by the Standing Patent Rules. Oracle Am., Inc. v. Google Inc., No. C 10-
               18      03561 WHA, 2011 WL 4479305, at *2 (N.D. Cal. Sep. 26, 2011) (“Even if it would
               19      have been easy for [defendant] to compile an accurate list of all the devices Oracle
               20      considered to be Android devices, Rule 3-1(b) required Oracle to provide such a list
               21      in its disclosure of infringement contentions.”); ASUS Comput. Int’l v. Round Rock
               22      Research, LLC, No. 12–cv–02099, 2014 WL 1463609, at *6 (N.D. Cal. Apr. 11,
               23      2014) (“Although identifying that a component practices a standard may be useful
               24      for proving an infringement theory across several products that contain that
               25      component, identifying a standard is not sufficient to specifically name an accused
               26      product.”).
               27               OEW also cannot backfill its contentions with untimely new statements in
               28      28
COOLEY LLP
                            Mead Decl., ¶ 2, Ex. D.
ATTORNEYS AT LAW                                                             APPLE’S NOTICE OF MOTION AND MOTION TO
   PALO ALTO
                                                                   9                                            STRIKE
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                   1   correspondence.     After Apple pointed out the deficiencies, OEW refused to
                   2   supplement its Infringement Contentions but sent a letter that contained a new list of
                   3   dozens of products that were not identified or charted in its contentions.29 Those
                   4   belatedly-identified products are not at issue in the case:
                   5                To the extent any of [Plaintiff]’s explanations justify its
                                    complete failure to address the missing products, those
                   6                explanations should have been provided in its infringement
                                    contentions. [Plaintiff] may not serve infringement
                   7                contentions as required by the Patent Local Rules and then
                                    informally supplement them after the fact (either through
                   8                correspondence with Defendants or through briefing to the
                                    Court). The Patent Local Rules provide a mechanism to
                   9                supplement contentions after service, which [Plaintiff] has
                                    not followed.
               10
               11      Proofpoint, 2015 WL 1517920, at *5.
               12            B.     OEW Fails to Identify Specifically Where Each Limitation of Each
                                    Asserted Claim is Found Within Each Accused Product, in
               13                   Violation of S.P.R. 2.1.3.
               14            OEW’s Infringement Contentions also fail to sufficiently specify OEW’s
               15      infringement theories. Standing Patent Rule 2.1.3 requires a “[a] chart identifying
               16      specifically where each limitation of each asserted claim is found within each
               17      Accused Instrumentality.” S.P.R. 2.1.3. (emphasis added). Instead of providing this
               18      required disclosure, OEW provided a single infringement claim chart per patent that
               19      failed to specify where, if anywhere, numerous claim limitations might allegedly be
               20      found in any accused product.
               21            As an overarching defect, OEW’s contentions improperly lump together
               22      numerous different types of products into two groups—“Accused Receiver Device”
               23      and “Accused Transmitter Device”—without identifying specifically where each
               24      limitation of each asserted claim is alleged found within each accused product.30 As
               25      a result, OEW’s claim charts gloss over and fail to specifically address each accused
               26      product, resulting in numerous material deficiencies. For the “Accused Transmitter
               27
                       29
               28         Mead Decl., Ex. C at 2.
                       30
COOLEY LLP
                         Mead Decl., Ex. A at 005, 063, 095, passim.
ATTORNEYS AT LAW                                                             APPLE’S NOTICE OF MOTION AND MOTION TO
   PALO ALTO
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                   1   Devices,” the contentions also fail to specifically identify any accused iPhone, iPad,
                   2   iPod, or Apple Watch product models within those product lines, as discussed
                   3   previously.
                   4         While OEW’s claim charts are rife with deficiencies, Apple by this motion
                   5   seeks relief regarding the following five issues.31
                   6                 1.    Deficient identification of accused “unique user code.”
                   7         All of the asserted claims recite the use of a “unique user code” in connection
                   8   with wireless transmission.32 At the ITC, this term was construed to mean “fixed
                   9   code (bit sequence) specifically associated with one user of a device(s).”33
               10            OEW’s contentions fail to specifically identify where the “unique user code”
               11      is found in each accused product. OEW relies on the publicly available Bluetooth
               12      5.0 specification for this limitation. But OEW only parrots the claim language and
               13      states that each product may receive or transmit “a unique user code.” OEW then
               14      block-quotes lengthy portions of a Bluetooth specification that set forth various
               15      different codes and data as “example” citations, though it never specifies any that are
               16      “specifically associated with one user of a device(s).” OEW’s contentions state:
               17                    Each Accused Receiver Device is configured to receive a
                                     unique user code. For example:
               18
                                     1.3 ACCESS CODES
               19
                                     In the Bluetooth system all transmissions over the
               20                    physical channel begin with an access code. Three
                                     different access codes are defined, see also Section 6.3.1:
               21
                                     • device access code (DAC)
               22
                                     • channel access code (CAC)
               23
                                     • inquiry access code (IAC)
               24
                                     All access codes are derived from the LAP of a device
               25                    address or an inquiry address. The device access code is
               26      31
                          Apple may rely upon other deficiencies for the merits of establishing non-
               27      infringement at a later appropriate stage.
                       32
                          E.g., Mead Decl., Ex. A, at 006-007, 015-016, 026-027, 037-038, 045-045-046,
               28      053-054, 064, 085, 092-093, 096-097, 107-109, 118-120.
                       33
COOLEY LLP
                          Mead Decl., Ex. F, at 39.
ATTORNEYS AT LAW                                                             APPLE’S NOTICE OF MOTION AND MOTION TO
   PALO ALTO
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                   1                used during page, page scan and page response substates
                                    and shall be derived from the paged device’s BD_ADDR.
                   2                The channel access code is used in the CONNECTION
                                    state, . . ..
                   3
                                    The access code also indicates to the receiver the arrival
                   4                of a packet. It is used for timing synchronization and
                                    offset compensation. The receiver correlates against the
                   5                entire synchronization word in the access code, providing
                                    very robust signaling.
                   6
                                    (BT Specification 5.0, Vol. 2, Part B, Section 1.3.)
                   7
                                    See also, for example:
                   8
                                    Each Bluetooth device shall be allocated a unique 48-bit
                   9                Bluetooth device address (BD_ADDR). The address shall
                                    be a 48-bit extended unique identifier (EUI-48) created in
               10                   accordance with section 8.2 (“Universal addresses”) of
                                    the IEEE 802-2014 standard
               11                   (http://standards.ieee.org/findstds/standard/802-
                                    2014.html). Creation of a valid EUI-48 requires one of the
               12                   following MAC Address Block types to be obtained from
                                    the IEEE Registration Authority:
               13
                                    • MAC Address Block Large (MA-L)
               14
                                    • MAC Address Block Medium (MA-M)
               15
                                    • MAC Address Block Small (MA-S)
               16
                                    (BT Specification 5.0, Vol. 2, Part B, Section 1.2.)
               17
                                    See also, for example, BT Specification 5.0, Vol. 1, Part
               18                   A, Sections 1.2, 1.3, 3.2.1 and 3.3; Vol. 2, Part B,
                                    Sections 2, 4.2, 6.4.34
               19
               20      OEW’s contentions thus fail to identify which of the access codes or blocks constitute
               21      the specific accused “unique user code” from among this lengthy open-ended set of
               22      purported “example” citations, in violation of Standing Patent Rule 2.1.3. OEW’s
               23      “theory of infringement . . . may be hidden somewhere in that paragraph, but it is not
               24      readily apparent.” Proofpoint, 2015 WL 1517920, at *7 (“Neither the Court nor the
               25      Defendants should be required to guess which aspects of the accused products
               26      allegedly infringe each claim element.”).      “More specificity is required as to
               27
                       34
               28        E.g., Mead Decl., Ex. A at 006-007, 015-016, 026-027, 037-038, 045-045-046,
COOLEY LLP
                       053-054, 064, 085, 092-093, 096-097, 107-109, 118-120.
ATTORNEYS AT LAW                                                           APPLE’S NOTICE OF MOTION AND MOTION TO
   PALO ALTO
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                   1   Plaintiff’s infringement positions.” Wilson Sporting Goods Co. v. Monsta Athletics,
                   2   LLC, No. 19-cv-00738, 2020 WL 5835320 *2 (C.D. Cal. Feb. 19, 2020). OEW
                   3   violates the basic maxim that it “should not ‘hide the ball’ in its infringement
                   4   contentions (or in any aspect of discovery, really).” Id.
                   5         During meet and confer, OEW only made the problem worse. OEW doubled
                   6   down on its improper open-ended “examples” approach, asserting that “there are
                   7   multiple bit sequences that may satisfy the claim language” and then identifying
                   8   “[f]or example . . . at least” two purported examples.35 SonicWall, 2019 WL 2077849
                   9   at *5 (finding that “contentions are not sufficiently specific” where they point to
               10      “examples only”) (emphasis in original).
               11            The Court should compel OEW to specify precisely what information it
               12      accuses as the “unique user code” in the Bluetooth specification.
               13                   2.    Deficient accusation of a “receiver.”
               14            Most of the asserted claims require a “receiver,” such as “a portable digital
               15      audio headphone receiver.”36 OEW’s contentions state that each entire Accused
               16      Receiver Device “is a . . . receiver” as claimed: “[e]ach Accused Receiver Device is
               17      a digital audio spread spectrum receiver.”37 However, the Accused Receiver Devices
               18      contain numerous different pieces and components (including chips
               19      that receive wireless communications). OEW’s contentions fail to
               20      identify any specific receiver component(s) within in each product.
               21      For example, the accused AirPods and AirPods Pro products include
               22      three separate items, as illustrated in the graphic to the right: two
               23      separate wireless earbuds (left and right) and a charging case.38
               24      Inside those items are various subcomponents.         OEW’s contentions, however,
               25      vaguely and ambiguously suggest that the entire AirPods product as a whole—
               26      35
                          Mead Decl. Ex. C at 5-6.
                       36
               27         E.g., Mead Decl. Ex. A, at 006, 019, 025, 030, 037, 047-048, 056-057, 064, 077,
                       096, 107.
                       37
               28         See id. (emphasis added).
                       38
COOLEY LLP
                          See https://www.apple.com/airpods/.
ATTORNEYS AT LAW                                                            APPLE’S NOTICE OF MOTION AND MOTION TO
   PALO ALTO
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                   1   including left earbud, right earbud, and charging case—“is a . . . receiver.”
                   2   SonicWall, 2019 WL 2077849 at *5 (“These contentions are not sufficiently specific.
                   3   . . . To the extent Finjan contends that the SonicWall Gateways or ESA products
                   4   themselves are the ‘Internet application running on the computer,’ such contention is
                   5   not clearly stated”).
                   6         The Court should compel OEW to specifically identify what it contends is the
                   7   accused “receiver” for each accused product, as required by Standing Patent Rule
                   8   2.1.3. For example, for the accused AirPods and AirPods Pro products, if OEW
                   9   contends that the accused “receiver” is the combination of left earbud, right earbud,
               10      and carrying case, or some subset of those items (or components within those items),
               11      it needs to specifically identify what it contends is the “receiver” for purposes of its
               12      infringement theory. The same goes for every other accused “receiver” product.
               13      OEW needs to specify that the entire product, or some specifically identified subset
               14      of components in the product, is the accused “receiver” for purposes of OEW’s
               15      infringement theory.
               16                   3.     Deficient accusation of a “direct conversion module.”
               17            OEW’s contentions fail to identify the required “direct conversion module” in
               18      the accused products. Most of the asserted claims recite a “direct conversion module”
               19      used to receive an incoming wireless transmission and convert its frequency.39 At
               20      the ITC, this term was construed to mean a “module for converting radio frequency
               21      to baseband or very near baseband in a single frequency conversion without an
               22      intermediate frequency.”40     During patent prosecution, OEW distinguished its
               23      claimed “direct” conversion technique from other “often used” conversion
               24      techniques that use intermediate frequencies:        “The DCR [(direct conversion
               25      module)] disclosed in the present invention, among other things, performs direct
               26      down conversion from radio frequency (RF) to baseband or (very near baseband),
               27
                       39
               28         Mead Decl. Ex. A, 008, 019, 031, 039, 048, 057, 067, 079, 099.
                       40
COOLEY LLP
                         Mead Decl. Ex. F at 43 (emphasis added).
ATTORNEYS AT LAW                                                            APPLE’S NOTICE OF MOTION AND MOTION TO
   PALO ALTO
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                   1   thus omitting intermediate frequency (IF) down conversion components that are
                   2   often used.”41
                   3         OEW’s contentions fail to specify where, if anywhere, the claimed “direct
                   4   conversion module” is allegedly found within any accused Apple product. OEW
                   5   proclaims that it knows this element is present in the products. OEW states, without
                   6   qualification: “Each Accused Receiver Device has a direct conversion module.”42
                   7   But merely “parroting claim language” does not satisfy the patent rules. Proofpoint,
                   8   2015 WL 1517920, at *6. Nowhere do the charts identify “specifically where” this
                   9   module is allegedly found within each product as the Standing Patent Rules require.
               10      S.P.R. 2.1.3. Instead, the charts only allege that “Apple promotes the low power
               11      consumption characteristics of the accused devices” and point to a section of the
               12      Bluetooth 5.0 specification, none of which requires a direct frequency conversion.43
               13            As such, OEW should be compelled to disclose specifically where the accused
               14      products contain the “direct conversion module” that OEW states is present.
               15      Proofpoint, 2015 WL 1517920, at *6 (the infringement contentions disclosure
               16      required by the patent rules is “so specific that either reverse engineering or its
               17      equivalent is required.”).
               18            During meet and confer, OEW did not identify any basis for its assertion that
               19      a direct conversion module is present in any accused product. Instead, OEW implied
               20      that any direct or indirect frequency conversion technique would satisfy the claim
               21      language, but that would eviscerate the meaning of the claimed “direct” conversion
               22      technique. Indeed, OEW itself admitted at the ITC that this term requires conversion
               23      “without first converting to an intermediate frequency,” consistent with OEW
               24      distinguishing the use of an intermediate frequency as an “often used” technique.44
               25            More troublingly, OEW indicated that it had not performed any product
               26
                       41
               27         Id. at 42.
                       42
                          Mead Decl. Ex. A at 008, 019, 031, 039, 048, 057, 067, 079, 099.
                       43
               28         See id.
                       44
COOLEY LLP
                         Mead Decl. Ex. F at 39-43.
ATTORNEYS AT LAW                                                          APPLE’S NOTICE OF MOTION AND MOTION TO
   PALO ALTO
                                                                15                                           STRIKE
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                   1   testing, reverse engineering, or other inspection and analysis of each of Apple’s
                   2   products in order to determine whether or not the products contained a “direct
                   3   conversion module.”45 But OEW nevertheless stated in its contentions, without
                   4   qualification, that “[e]ach Accused Receiver Device has a direct conversion module.”
                   5   OEW cannot avoid the disclosure requirements of the Standing Patent Rules by
                   6   withholding the basis for that unequivocal statement. Bender v. Infineon Techs.
                   7   North Am. Corp., 2010 WL 964197, at *1 (N.D. Cal. March 16, 2010) (“[P]laintiff is
                   8   required to include [in its] infringement contentions all facts known to it, including
                   9   those discovered in its Fed.R.Civ.P. 11 pre-filing investigation.”); Theranos, Inc. v.
               10      Fuisz Pharma LLC, No. 11-cv-05236-YGR, 2012 WL 6000798, at *6 (N.D. Cal.
               11      Nov. 30, 2012) (striking infringement contentions: “Even if little publicly-known
               12      information about Theranos’ technologies is available, Fuisz’s obligations under the
               13      Local Rules, Fed. R. Civ. P. 11, or other Federal Circuit authority are not obviated.”);
               14      Proofpoint, 2015 WL 1517920 at *9 (compelling disclosure of basis for infringement
               15      allegation: “Finjan’s infringement contentions do not on their face reflect the results
               16      of the ‘claim by claim, element by element’ investigation required by Rule 11.”).
               17               OEW also suggested that it improperly sought to conduct a fishing expedition
               18      in discovery in the hope of finding a basis to allege infringement, but the patent rules
               19      required OEW to disclose the specific basis (if any) for its assertion that “[e]ach
               20      Accused Receiver Device has a direct conversion module.” Theranos, 2012 WL
               21      6000798, at *6 (“By arguing that Theranos’ information is not publicly-available and
               22      by offering to amend the Contentions only after discovery has occurred, Fuisz is
               23      attempting to ignore their obligations and shift the burden to Theranos. Such tactic
               24      is improper.”) (internal citation omitted); Proofpoint, 2015 WL 1517920 at *9 (the
               25      “flexibility” in cases involving non-public information “does not mean that a party
               26      may delay providing any comprehensible theory of infringement” until after
               27      receiving discovery) (emphasis in original).
               28      45
COOLEY LLP
                            Mead Decl. ¶ 2, Ex. D.
ATTORNEYS AT LAW                                                            APPLE’S NOTICE OF MOTION AND MOTION TO
   PALO ALTO
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                   1                4.    Deficient accusation against prior versions of Bluetooth.
                   2         OEW’s contentions also improperly attempt to encompass multiple versions
                   3   of the Bluetooth communication standard back to version 2.1, but fail to chart
                   4   anything other than version 5.0. All of the citations in OEW’s claim charts are only
                   5   to the Bluetooth version 5.0 specification and no other version.46 However, OEW
                   6   improperly states that “each citation to Bluetooth 5.0 should be understood to also
                   7   refer to the corresponding sections in each Bluetooth specification from version 2.1
                   8   onward, such as Bluetooth specification 4.0, 4.1 and 4.2,” without including in its
                   9   contentions any citations to any other version.47
               10            OEW could not simply allege that any product with Bluetooth infringes.
               11      Indeed, OEW made a tactical decision not to cite early versions of Bluetooth in its
               12      Infringement Contentions because versions of Bluetooth from the 1990s are prior art
               13      to the asserted patents.48 OEW did not invent Bluetooth and had no involvement in
               14      the development of Bluetooth.
               15            During meet and confer, OEW confirmed that its contentions could have cited
               16      other versions of Bluetooth but did not do so, and OEW refused Apple’s offer to
               17      accept amended contentions.49 What is worse, while OEW subsequently sent a letter
               18      that contained untimely citations to sections of versions 4.0, 4.1, and 4.2, the letter
               19      still left unaddressed the Infringement Contentions’ improper reference to “the
               20      corresponding sections in each Bluetooth specification from version 2.1 onward.”50
               21            If OEW wanted to raise an infringement theory relying on any version of
               22      Bluetooth other than version 5.0, its contentions needed to specifically identify where
               23      each limitation is found in each such version, as required by Standing Patent Rule
               24      2.1.3. Uniloc 2017, 2019 WL 8810168, at *8 (holding that plaintiff needed to
               25      46
                          Mead Decl., Ex. A.
                       47
               26         Id. at 005, 063, 095 (emphasis added).
                       48
                          See, e.g., https://www.mobileindustryreview.com/2017/08/the-history-of-
               27      bluetooth.html; https://www.androidauthority.com/history-bluetooth-explained-
                       846345/.
                       49
               28         Mead Decl., ¶ 2, Ex. D at 2.
                       50
COOLEY LLP
                          Mead Decl., Ex. C at 4-5.
ATTORNEYS AT LAW                                                            APPLE’S NOTICE OF MOTION AND MOTION TO
   PALO ALTO
                                                                   17                                          STRIKE
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                   1   “explain[e] where and how each limitation of each claim is met, specifying what
                   2   version of Bluetooth it is accusing of infringement . . .”). The Court should strike
                   3   OEW’s improper reference to “the corresponding sections in each Bluetooth
                   4   specification from version 2.1 onward” because OEW failed to chart anything other
                   5   than version 5.0.
                   6                5.     Deficient accusations of a “transmitter” “coupled to” a
                                           “portable audio player/source.”
                   7
                             OEW’s contentions are similarly deficient with respect to claim elements that
                   8
                       require a “transmitter” that is “coupled to” a “portable audio player” or a “portable
                   9
                       audio source.” In the event that OEW is permitted to maintain any infringement
               10
                       assertion against any accused “transmitter” product, OEW should be compelled to
               11
                       disclose its specific infringement theory for each such product.
               12
                             As discussed previously, the asserted patents contemplate a wireless
               13
                       “transmitter” device, like a dongle, that is plugged into the headphone jack of a music
               14
                       player device (such as a portable MP3 player). Several asserted claims accordingly
               15
                       recite a “transmitter” that is “coupled to” a “portable audio player” or “portable audio
               16
                       source,” such as a “transmitter operatively coupled to said portable audio player” and
               17
                       similar limitations.51
               18
                             OEW’s contentions are silent on any accused “portable audio player” (or
               19
                       “portable audio source”) that is “coupled to” a “transmitter” as claimed.52 Nowhere
               20
                       do the contentions specifically identify a coupling between an accused portable audio
               21
                       player/source and an accused transmitter. SonicWall, 2019 WL 2077849, at *4 (“the
               22
                       problem is that Finjan nowhere identifies what ‘the Capture ATP and Cloud Sandbox
               23
                       computers’ are . . . Finjan must amend its contentions to identify where the computer
               24
                       that houses the network interface of claim 6 may be found in the accused Capture
               25
                       ATP instrumentality.”).
               26
                             If anything, OEW’s contentions nonsensically suggest that a single “Accused
               27
                       51
               28         Mead Decl., Ex. A at 015-017, 019-022, 026-028, 031-033, 089-090, 118-120.
                       52
COOLEY LLP
                         See id.
ATTORNEYS AT LAW                                                            APPLE’S NOTICE OF MOTION AND MOTION TO
   PALO ALTO
                                                                 18                                            STRIKE
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                   1   Transmitter Device,” such as an entire iPhone device, is the accused “transmitter”
                   2   but is also, at the same time, the accused “portable audio player.”53 But OEW fails
                   3   to explain how a single iPhone device could possibly be “coupled to” itself. The
                   4   “infringement theory is unclear as written.” Uniloc 2017, 2019 WL 8810168, at *8;
                   5   SonicWall, 2019 WL 2077849 at *5 (“To the extent Finjan contends that the
                   6   SonicWall Gateways or ESA products themselves are the ‘Internet application
                   7   running on the computer,’ such contention is not clearly stated”).
                   8         Again, OEW shed no light during meet and confer. If the Court does not strike
                   9   the unspecified “Accused Transmitter Devices” entirely, the Court should compel
               10      OEW to specifically identify for each accused “transmitter” product (1) the accused
               11      “transmitter,” (2) the accused “portable audio player,” and (3) the accused
               12      functionality where those two components are allegedly “coupled to” each other.
               13            C.     OEW Fails to Disclose the Basis For Its Contention That Its
                                    Products Practice the Patents, in Violation of S.P.R. 2.1.5.
               14
                             Finally, OEW failed to disclose the basis for its pleaded allegations that “One-
               15
                       E-Way manufactures and sells wireless audio devices covered by the Asserted
               16
                       Patents.”54 The Standing Patent Rules require:
               17
                                    If a party claiming patent infringement wishes to preserve the
               18                   right to rely, for any purpose, on the assertion that its own
                                    apparatus, product, device, process, method, act, or other
               19                   instrumentality practices the claimed invention, the party shall
                                    identify, separately for each asserted claim, each such apparatus,
               20                   product, device, process, method, act or other instrumentality that
                                    incorporates or reflects that particular claim.
               21
                       S.P.R. 2.1.5 (emphasis added). Relatedly, if a party identifies instrumentalities under
               22
                       S.P.R. 2.1.5, it must produce “documents sufficient to show the operation of any
               23
                       aspects or elements of such instrumentalities the patent claimant relies upon as
               24
                       embodying any asserted claims.” S.P.R. 2.2.3. “This creates a discovery obligation”
               25
               26      53
                          E.g., Mead Decl., Ex. A at 014-015, 025-026, 118-120 (stating that “Each
               27      Accused Transmitter Device is a digital audio spread spectrum transmitter” and
                       “Apple promotes each Accused Transmitter Device as providing audio, including
               28      music”) (emphasis added), 089-090.
                       54
COOLEY LLP
                          Dkt. No. 22, ¶¶ 14, 34.
ATTORNEYS AT LAW                                                            APPLE’S NOTICE OF MOTION AND MOTION TO
   PALO ALTO
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                   1   with which OEW must comply. Wilson Sporting Goods, 2020 WL 5835320, at *3.
                   2   Thus, since OEW’s complaint alleges that its products practice the asserted patents,
                   3   OEW needed to (1) specifically identify each such product for each applicable
                   4   asserted claim, and (2) produce documents sufficient to show the relevant operation
                   5   of each such product.
                   6           OEW failed to do so. OEW’s Infringement Contentions state that it “does not
                   7   intend to rely on its own products practicing any of the Asserted Claims to prove
                   8   infringement.”55 OEW also did not produce any documents evidencing the operation
                   9   of its products that allegedly practice the patents. The rules, however, required OEW
               10      to provide the necessary disclosures if it desired to preserve the right to rely on
               11      practicing its patents “for any purpose.” S.P.R. 2.1.5 (emphasis added).
               12              During meet and confer, OEW refused to engage in good faith and made clear
               13      that it is attempting to have it both ways: trying to reserve the right to tell the jury
               14      that OEW’s products practice the asserted patents, but flouting the discovery
               15      obligation requiring it to disclose upfront the bases for that contention. Again, OEW
               16      is improperly attempting to “‘hide the ball’ in its infringement contentions.” Wilson
               17      Sporting Goods, 2020 WL 5835320, at *2.
               18              Apple accordingly requests that the Court strike OEW’s deficient disclosure
               19      and compel OEW to supplement its contentions to comply with Standing Patent
               20      Rules 2.1.5 and 2.2.3. OEW must either disclose the basis for its contention that its
               21      products practice the patents, or confirm that OEW will not rely, for any reason, on
               22      an assertion that its products practice the patents.
               23      V.      CONCLUSION
               24              For the foregoing reasons, Apple respectfully request that the Court grant the
               25      foregoing requested relief.
               26
               27
               28      55
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                            Mead Decl., Ex. A at 004 (emphasis added).
ATTORNEYS AT LAW                                                              APPLE’S NOTICE OF MOTION AND MOTION TO
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